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                                        UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                             CIVIL COVER SHEET
 I.(a)PLAINTIFFS (Check box if you are representing yourself OX )                    DEFENDANTS             (Check box if you are representing yourself ~ )
 SUSHANT GUPTA                                                                        POSTMATES INC.
 P.O. BOX 5242                                                                        201 THIRD STREET, FLOOR 2
 BUENA PARK CA 90622                                                                  SAN FRANCISCO CA 94103

(b) County of Residence of First Listed Plaintiff Orange county, CA (County of Residence of First Listed Defendant
(EXCEPTIN U.S. PLAINTIFF CASES)                                                      (IN U.S. PLAINTIFFCASES ONLY)

(c) Attorneys(Firm Name,Address and Telephone Number) If you are                     Attorneys(Firm Name,Address and Telephone Number) If you are
 representing yourself, provide the same information.                                representing yourself, provide the same information.
 SUSHANT GUPTA                                                                       POSTMATES INC.
 P.O. BOX 5242                                                                       201 THIRD STREET, FLOOR 2
 BUENA PARK CA 90622,                                                                SAN FRANCISCO CA 94103
 714-752-0139, E mail: sambuenapark@gmail.com                                        (718) 513-2785
II. BA515 OF JURISDICTION (Place an X in one box only.)                      III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                  (Place an X in one box for plaintiff and one for defendant)
    1. U.S. Government             ~ 3. Federel Question (U.S.                                          ❑x F 1   ~x F 7   Incorporated or Principal Place     ~F 4 ~F 4
                                                                             Citizen of This State
    Plaintiff                        Government Not a Party)                                                              of Business in this State
                                                                             Citizen of Another State   ~ 2 ~ 2 Incorporated and Principal Place              ❑ 5 ~ S
                                                                                                                of Business in Another State
    2. U.S. Government             ~4. Diversity (Indicate Citizenship       Citizen or Subject of a
     Defendant                         of Parties in Item III)               Foreign Country            ❑ 3      ❑ 3 Foreign Nation                           ~ 6 ~ 6


IV.ORIGIN (Place an X in one box only.)
                                                                                                                                 6. Multidistrict        8. Multidistrict
     t.Original         2. Removed from           3. Remanded from      4. Reinstated or       5. Transferred from Another          Litigation -     ~      Litigation -
       Proceeding         State Court               Appellate Court       Reopened                District (Specify)                Transfer                Direct File


V.REQUESTED IN COMPLAINT: JURY DEMAND: ❑X Yes ~ No                                     (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P.23:                   ~Yes ❑X No                      ~ MONEY DEMANDED IN COMPLAINT: $ 35000
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
 LABOR LITIGATION

VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                 CONTRACT           REAL PROPERTY CONT.           IMMIGRATION              PRISONER PETITIONS                    PROPERTY RIGHTS
    375 False Claims Act       ❑ ~ 10 Insurance       ~ 240 Torts to Land       ~ 462 Naturelization             Habeas Corpus:           ~ 820 Copyrights
                                                                                  Application
    376 Qui Tam                ❑ 120 Marine         ❑ 245 Tort Product                                ~ 463 Alien Detainee                ~ g30 Patent
                                                       Liability                  465 Other           ~ 510 Motions to Vacate
    (31 USC 3729(a))                                                                                                                        835 Patent -Abbreviated
                                 130 Miller Act     ~ 290 All Other Real        ~ Immigration Actions   Sentence
    400 State                                          Property                        TORTS          ❑ 530 General                       ~ New Drug Application
                                  140 Negotiable
    Reapportionment            ❑ Instrument                 TORTS               PERSONAL PROPERTY ❑ 535 Death Penalty                     ❑ 840 Trademark
    410 Antitrust                 150 RecoverY of    PERSONAL INJURY
                                                                                ❑ 370 Other Fraud               Other:                         SOCIAL SECURITY
❑ 430 Banks and Banking        ❑ Overpayment &      ~ 310 Airplane
                                                                                  371 Truth in Lending ~ 540 Mandamus/Other               ~ 861 HIA (1395f~
                                 Enforcement of       31 S Airplane             ~
  450 Commerce/ICC               Judgment           ❑ Product Liability                                                                   ~ 862 Black Lung(923)
  Rates/Etc.                                                                      380 Other Personal ❑ 550 Civil Rights
  460 Deportation              ❑ ~ 51 Medicare Act ~ 320 Assault, Libel &       ~ Property Damage      ~ 555 Prison Condition             ❑ 863 DIWC/DIWW (405 (g))
                                                      Slander
  470 Racketeer Influ-           152 Recovery of                                  385 ProPertY Dama9e       560 Civil Detainee      ~ 864 SSID Title XVI
                                 Defaulted          ~
                                                      330 Fed. Employers'       ❑ product Liability      ❑ Conditions of
  enced & CorruPt Or9•         ❑            Student   Liability
  480 Consumer Credit
                                 Loan (Excl. Vet.)                                  BANKRUPTCY              Confinement             ~ 865 RSI(405(9))
                                                      340 Marine                                          FpRFEITURE/PENALTY
  490 Cable/Sat N                153 Recovery of      345 Marine Product        ~ 422 Appeal 28                                         FEDERAL TAX SUITS
                                 Overpayment of     ❑ Liability                    USC 158                 625 Drug Related           870 Taxes(U.S. Plaintiff or
    850 Securities/Com-          Vet. Benefits                                    423 Withdrawal 28 ~ Seizure of Property 21        ❑ Defendant)
    modities/Exchan9e                               ~ 350 Motor Vehicle                                    USC 881
                                 160 Stockholders'                                 USC 157                                            871 IRS-Third Party 26 USC
    890 Other Statutory        ❑ Suits                355 Motor Vehicle             CIVIL RIGHTS         ~  690 Other                 7609
    Actions                                         ~ Product Liability
                                 190 Other                                      ~ 440 Other Civil Rights          LNBOR
    891 Agricultural Ads       ❑ Contract             360 Other Personal
                                                    ❑ Injury                    ~ 441 Voting             x 710 Fair Labor Standards
                                                                                                         ~
  893 Environmental                                                                                        Act
  Matters                        195 Contract         362 Personal Injury-
                                 Product Liability  ~ Med Malpratice            ❑ ~2 Employment          ~ 720 Labor/Mgmt.
  895 Freedom of Info.                                                            443 Housing/             Relations
❑ Apt                          ~ 196 Franchise      ~ 365 Personal Injury-
                                                      Product Liabilit            Accommodations
                                                                       y                                 ❑ 740 Railway Labor Act
    896 Arbitration             REAL PROPERTY                                     445 American with
                                                      367 Health Care/
                                 210 Land             Pharmaceutical            ❑ Disabilities-          ~ 751 Family and Medical
    899 Admin. Procedures      ~ Condemnation       ~ Personal Injury             Employment               Leave Act
    AcUReview of Appeal of                            Product LiabilitY           446 American with        790 Other Labor
    A9encY Decision            ❑ 2z0 Foreclosure                                                         ~
                                                                                                         x Litigation
                                                      368 Asbestos              ~ Disabilities-Other
    950 ConstitutionalitY of   ~ 230 Rent  Lease &  ❑ Personal Injury                                    ~ X91 Employee Ret. Inc.
                                                                                ~ q48 Education
    State Statutes               E'ectment            Pr     ct iabi'                                      Security Act

FOR OFFICE USE ONLY:                    Case Number:             ~ ~ ~ ~ ~ ~ Q ~ ,~ ~ b                                      ~I v 5 ~,~~~~
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                                                                CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change,in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
                                                                 STATE CASE WAS PENDING IN THE COUNTY OF:                                    INITIAL DIVISION IN CACD IS:
from state court?
               Yes        ~x   No
                                                 Los Angeles, Ventura,Santa Barbara, or San Luis Obispo                                                  Western
If"no,"skip to Question B. If "yes," check the
                                               ❑ grange                                                                                                 Southern
box to the right that applies,enter the
corresponding division in response to
                                                 Riverside or San Bernardino                                                                             Eastern
Question E, below,and continue from there. ❑


QUESTION B: IS the United States,or 8.1. Do SO~o or more of the defendants who reside in                      YES. Your case will initially be assigned to the Southern Division.
one of its agencies Or employees,a  the district reside in Orange Co.?                                      ~ Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                     from there.
                                    check one of the boxes to the right ~~
                Yes Q No                                                                                    ~ NO. Continue to Question B2.

                                                 B.2. Do 50% or more of the defendants who reside in              YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question C. If "yes," answer    the district reside in Riverside and/or San Bernardino           Enter "Eastern" in response to Question E, below, and continue
Question 6.1, at right.                          Counties? (Consider the two counties together.)                  from there.

                                                 check one ofthe boxes to the right    _►                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.


QUESTION C: IS the United States, or C.1• Do 50°k or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                           ~ Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                       from there.
                                     check one of the boxes to the right    ~'~
                 Yes ~ No                                                                     ~ NO. Continue to Question C.2.

                                                 C.2. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer   district reside in Riverside and/or San Bernardino      ~ Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                          Counties? (Consider the two counties together.)           from there.

                                                 check one of the boxes to the right   ~                          NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.
                                                                                                             A.                          B.                           C.
                                                                                                                                  Riverside or San          Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                  Orange County                Bernardino County          Santa Barbara, or San
                                                                                                                                                             Luis Obispo County

Indicate the locations) in which SO% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the locations) in which SO% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                            ❑                            ❑                                ❑
apply.)

                 D.1. Is there at least one answer in Column A?                                             D.2. Is there at least one answer in Column B?
                                    X Yes
                                    Q             ❑ No                                                                        ~ Yes          ~X No

                    If "yes," your case will initially be assigned to the                                      If "yes;' your case will initially be assigned to the

                                 SOUTHERN DIVISION.                                                                           EASTERN DIVISION.

     Enter "Southern" in response to Question E, below,and continue from there.                                Enter "Eastern" in response to Question E, below.

                           If"no;' go to question D2 to the right.          ~~                            If"no," your case will be assigned to the WESTERN DIVISION.
                                                                                                              Enter "Western" in response to Question E, below.                 j


QUESTION E: Initial Division?                                                                                             INITIAL DIVISION IN CACD

 Enter the initial division determined by Question A, B, C,or D above: ~~                                                          SOUTHERN

 QUESTION F: Northern Counties2
 Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                           ~ Yes            ~X No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                   ~X    NO            ~ YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                              X NO
                                                                                                                                              Q                    ~ YES
        If yes, list case number(s):



        Civil cases are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent,trademark, or copyright is not,in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.


 X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT):                                                                                                     DATE: 01/13/2020

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw,except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A,of the Social Security Act,as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4,Part B, of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)
                                                   All claims filed by insured workers for disability insurance benefits underTitle 2 of the Social Security Act, as amended; plus
        863                       DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C.405(g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act,as
        863                       DIWW
                                                   amended.(42 U.S.C.405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 ofthe Social Security Act, as
        864                       SSID             amended.

        865                       R51              All claims for retirement(old age)and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C. 405(g))




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